                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                              )
                                                        )
                        Plaintiff,                      )    No. 3:06-CR-102
 V.                                                     )    (Varlan / Guyton)
                                                        )
 JULIA NEWMAN                                           )
                                                        )
                        Defendant                       )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 ' 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This case is before the Court on the request of Defendant Julia Newman’s

 request, [Doc. 157], for an extension of time in which to file specific objections to this Court’s

 Memorandum and Order filed June 25, 2007, [Doc. 147]. Contemporaneous to this timely request,

 Ms Newman has filed specific nine specific objections with the District Court. [Docs. 148 - 156].

        The Federal Rules of Criminal Procedure, Rule 59(a) allows the parties 10 days, or other

 such time as set by the court, for filing objections to a Magistrate Judge’s non-dispositive order. The

 Memorandum and Order [Doc. 147] entered by this Court addressed some 54 pending motions. The

 government does not oppose Ms Newman’s request. The Court finds that good cause has been

 shown to extend Julia Newman’s deadline for making specific objections to the District Court as to

 [Doc. 147].

        Julia Newman’s deadline is extended to July 11, 2007, as requested. Defendant Newman’s

 Motion for Extension of Time to File Specific Motions and Memorandums on Julia Newman’s




Case 3:06-cr-00102-TWP-HBG             Document 173         Filed 07/11/07      Page 1 of 2      PageID
                                             #: 98
 Appeal and Objections to the Memorandum and Order of the Magistrate Judge [Doc. 147], [Doc.

 157] is GRANTED to the extent it moves for a deadline of July 11, 2007, for further filings in

 support of her appeal.

        IT IS SO ORDERED.

                                                   ENTER:


                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




                                               2


Case 3:06-cr-00102-TWP-HBG         Document 173       Filed 07/11/07     Page 2 of 2     PageID
                                         #: 99
